   Case 1:20-cr-00241-AJT Document 1 Filed 10/08/20 Page 1 of 4 PageID# 1




                IN THE UNITED STATES DISTIUCT COURT FOR THE
                            EASTERN DISTRICT OF VIRGINIA                             HltLi
                                                                                 IN OPEN CO'.IRI

                                    Alexandria Division

 UNITED STATES OF AMERICA                      UNDER SEAL
                                                                             CLERK OS.DISTRICT COURT
                                                                               *L£XANDRIA.VIRGINIA
       V.                                     No. I;20-CR-241

 JOHN JAMES PULGARJN AGUDELO                  Count 1:       Conspiracy to Distribute Five
                                                             Kilograms or More of Cocaine
 and                                                         Knowing and Intending and
                                                             Having Reasonable Cause to
 JOSE RUBEN CONTRERAS,                                       Believe that it will be
       a/k/a "Palomo"                                       Unlawfully Imported into the
                                                            United States
and                                                         (21 U.S.C. § 963)

JOSE LUIS PINO LEAL,                          Forfeiture Notice: 18 U.S.C. § 924(d); 21
       a/k/a "Dumbo"                                         U.S.C. §§ 853,970; 28 U.S.C.
                                                             § 2461(c)
             Defendants.




                                     INDICTMENT

                        October 2020 Term - at Alexandria. Vircinia

THE GRAND JURY CHARGES THAT:
Case 1:20-cr-00241-AJT Document 1 Filed 10/08/20 Page 2 of 4 PageID# 2
Case 1:20-cr-00241-AJT Document 1 Filed 10/08/20 Page 3 of 4 PageID# 3
Case 1:20-cr-00241-AJT Document 1 Filed 10/08/20 Page 4 of 4 PageID# 4
